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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

PATRICK SHERMAN                                                           PLAINTIFF

VS.                               4:21-cv-00400 BRW

JOHN F. FORRESTER, JR., et al.                                            DEFENDANTS


                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 13th day of May, 2021.



                                                 Billy Roy Wilson_________________
                                                 UNITED STATES DISTRICT JUDGE
